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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA               )     CRIMINAL NO. 1:23cr89 (ABJ)
                                       )
Plaintiff                              )
                                       )
v.                                     )     MAGISTRATE NO. 1:23mj44 (MAU)
                                       )
NATHAN WATTS                           )
                                       )
Defendant                              )

                            NOTICE OF APPEARANCE

       PLEASE TAKE NOTICE that Matthew Hill, Assistant Federal Public

Defender, hereby notes his appearance as counsel for the above-referenced

defendant on behalf of the Office of the Federal Public Defender.

       Dated this the 24th day of March, 2023.

                                             Respectfully Submitted,

                                             Nathan Watts
                                             By Counsel

                                             JUVAL O. SCOTT
                                             Federal Public Defender
                                             Western District of Virginia

                                             Matthew Hill
                                             Assistant Federal Public Defender
                                             Missouri State Bar No. 47889
                                             New Hampshire State Bar No. 18864
                                             Arkansas State Bar No. 2018170
                                             Attorney for the defendant
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                           CERTIFICATE OF SERVICE

      I hereby certify that a true copy of the foregoing document was electronically
filed and will be forwarded to the Assistant United States Attorney, this 24th day of
March, 2023.
                                             s/Matthew Hill
